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16                                UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18                                        SAN JOSE DIVISION
19    FEDERAL TRADE COMMISSION,                      Case No. 5:22-cv-04325-EJD
20
              Plaintiff,                             JOINT STATEMENT OF RECENT
21    v.                                             DECISION

22    META PLATFORMS, INC., et al.,                  Date:    October 21, 2022
                                                     Time:    11:00 a.m.
23            Defendants.                            Dept.:   Courtroom 4 – 5th Floor
24                                                   Judge:   Honorable Edward J. Davila

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     JOINT STATEMENT OF RECENT DECISION                       Case No. 5:22-cv-04325-EJD
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 1          The FTC’s motion to strike certain of Meta’s affirmative defenses is fully briefed and set for

 2   argument on October 21, 2022. ECF Nos. 89, 93, 99, 119. Pursuant to this Court’s Local Rule

 3   7.3(d)(2), the parties jointly submit this statement of recent decision to notify the Court that Chair

 4   Khan has

 5           and has                                                         Ex. B; see also 16 C.F.R. §

 6   4.17(b)(3)(i). The full Commission is now considering Meta’s motion to disqualify Chair Khan

 7   without Chair Khan’s participation.      See id. § 4.17(b)(3)(ii).    According to the FTC, these

 8   developments are reflected in an October 6, 2022 letter from the Secretary to counsel, which appears

 9   on the FTC’s public docket and is attached hereto as Exhibit A, and an

10

11              and is attached hereto as Exhibit B but is being submitted under seal because the

12   Commission designated it as confidential.

13
     DATED: October 17, 2022                       Respectfully submitted,
14

15                                                 By: /s/ Chantale Fiebig

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     JOINT STATEMENT OF RECENT DECISION                                   Case No. 5:22-cv-04325-EJD
         Case 5:22-cv-04325-EJD Document 120-2 Filed 10/17/22 Page 3 of 4




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     JOINT STATEMENT OF RECENT DECISION                  Case No. 5:22-cv-04325-EJD
        Case 5:22-cv-04325-EJD Document 120-2 Filed 10/17/22 Page 4 of 4




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     JOINT STATEMENT OF RECENT DECISION                       Case No. 5:22-cv-04325-EJD
